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 CULPEPPER IP, LLLC
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                        UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

                                         )
 In re Subpoena to                       )     19-mc-100
                                         )
 Hawaiian Electric Company, Inc.         )

                  DECLARATION PURSUANT TO 17 U.S.C. 512(h)

           KERRY S. CULPEPPER, hereby declares under penalty of law that the

 following is true and correct:

           1.   I am an attorney licensed to practice law in Hawai’i and represent

 Hunter Killer Productions, Inc. the owner of the copyright in the motion picture Hunter

 Killer.

           2.   This declaration is made in support of the accompanying subpoena,

 pursuant to 17 USC 512(h)(2)(C).

           3.   The purpose of the accompanying Subpoena is to obtain the identity of

 the alleged copyright infringer(s) who is/are used the device associated with the

 Hawaiian Electric Company Verizon service account identified by telephone

 number (808)342-9832 to infringe the Work on 2019-03-18 21:03:27 UTC. The

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 information obtained will be used only for the purpose of protecting the rights

 granted to the copyright owner(s).

       I declare under penalty of perjury that the foregoing is true and correct.


       DATED: Kailua-Kona, Hawaii, May 15, 2019.

                                 CULPEPPER IP, LLLC


                                 /s/ Kerry S. Culpepper
                                 Kerry S. Culpepper

                                 Attorney for Owner/Requestor




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